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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

      TACTUS TECHNOLOGIES, LLC,                          §
                                                         §
                                                             Case No. 2:20-CV-00040-JRG-RSP
      Plaintiff,                                         §
                                                         §
                                                         §
                                                             JURY TRIAL DEMANDED
              v.                                         §
                                                         §
      HMD GLOBAL OY,                                     §
                                                         §
      Defendant.                                         §
                                                         §

                       JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER
                             (WITH DISPUTED PROVISIONS NOTED)

             Plaintiff Tactus Technologies LLC and Defendant HMD Global Oy file this Joint Motion

  for Entry of Protective Order.

I.      INTRODUCTION AND BACKGROUND

             The Parties have conferred and agreed to all terms of the proposed Protective Order, except

  terms within the following paragraphs.

                   1. ¶ 10(h) – limits to source code printouts; and

                   2. ¶ 11 – scope of prosecution bar.

             Accordingly, the Parties submit a proposed Protective Order, attached as Exhibit A, for the

     Court’s consideration. Disputed language is contained in the proposed Protective Order. For

     reference, disputed language in the proposed Protective Order is bracketed with an indication of

     whether Plaintiff or Defendant proposes the disputed language.
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II.      DISPUTE NO. 1: ¶ 10(h) - Limits to Source Code Printouts

                     Plaintiff’s Proposal                                Defendant’s Proposal
       The receiving Party shall be permitted to             The receiving Party shall be permitted to
       make three sets of printouts (including two           make three sets of printouts (including two
       sets of photocopies) of Source Code                   sets of photocopies) of Source Code
       Material, all of which shall be designated and        Material, all of which shall be designated and
       clearly labeled “HIGHLY CONFIDENTIAL -                clearly labeled “HIGHLY CONFIDENTIAL -
       SOURCE CODE,” and the receiving Party                 SOURCE CODE,” and the receiving Party
       shall maintain a log of all such files that are       shall maintain a log of all such files that are
       printed or photocopied. The receiving Party           printed or photocopied. The receiving Party
       may print no more than a reasonable                   may print no more than 1000 pages and no
       number of pages                                       more than 50 contiguous pages per file


             A. Plaintiff’s Arguments
             Although the Court’s default order does not contemplate a source code printout page

   limitation, Defendant seeks to limit a receiving Party to print no more than 1000 total pages of

   source code and no more than 50 contiguous pages per file. While Plaintiff does not dispute that

   source code printouts should be limited to the needs of this case, Plaintiff does not agree to

   Defendant’s arbitrary limitations.

             As Defendant’s proposal is more restrictive, Defendant bears the burden to show good

      cause to include the 1000 page and 50 contiguous page limitations it seeks. See Document

      Generation Corp. v. Allscripts, LLC, No. CIV A 6:08-CV-479, 2009 WL 1766096, at *2 (E.D.

      Tex. June 23, 2009). Setting a specific page limitation at this stage of the case is premature for two

      reasons. First, the Court and Plaintiff have limited knowledge of the scope, organization, or format

      of source code that will be produced in this Action. Therefore, it is not possible to determine the

      number of source code printouts necessary for Plaintiff to present its case at trial. Second, Plaintiff

      has accused at least forty HMD devices of infringing the patent-in-suit, and it is unclear if the

      Parties will agree to representative products or even what the scope of representative products may

      be. Without this information, the Court and the Parties cannot accurately determine the number of


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  source code printouts required. Indeed, in the event the Parties do not agree to representative

  products, Plaintiff would be limited to a mere 25 pages per Accused Product, which would likely

  be insufficient. Plaintiff intends to print only the number of source code pages reasonably

  necessary to prove infringement. But at this stage, that number is unknown.

          That Plaintiff’s outside counsel may have agreed to page limits in different cases with

  different clients, different facts, and different Accused Products has no bearing on the question

  before the Court. Instead, the Court first determines whether there is an “‘unacceptable opportunity

  for inadvertent disclosure’” of confidential information to an individual involved in “competitive

  decisionmaking” with his or her client and then (2) “balance[s] this risk against the potential harm

  to the opposing party . . . .” In re Deutsch Bank Trust Co. Ams., 605 F.3d 1373, 1378, 1380 (Fed.

  Cir. 2010) (quoting U.S. Steel Corp. v. United States, 730 F2d 1465 (Fed. Cir. 1984)). The agreed

  provisions of the proposed Protective Order provide numerous protections to avoid inadvertent

  disclosure of source code. For example, Source Code Material is limited to a small group of people.

  Ex. A, ¶ 10(e). As another example, Source Code Material may generally not be stored

  electronically. Id. at ¶ 10(g). As yet another example, a receiving Party shall maintain a log of all

  printed or photocopied source code documents. Id. at 10(h). But a strict, arbitrary page limit has

  the potential to be catastrophic to Plaintiff. For example, if 51 consecutive pages of code are

  required for Plaintiff to put on its case at trial, under Defendant’s proposal, Plaintiff may not be

  able to put on its case in chief.

          Moreover, under an agreed provision of the proposed Protective Order, should the Parties

  disagree whether a receiving Party’s request to print pages is unreasonable, the producing Party

  may withhold production pending a Motion to Compel production by the receiving Party. Ex. A,




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  ¶ 10(h). Thus, if Defendant does believe a request is unreasonable, it has the option to withhold

  production pending a Motion to Compel.

           B. Defendant’s Arguments
           While HMD Global has proposed a generous cap on the number of pages of confidential

  source code that may be printed—which far exceeds the limits in other CCE cases involving

  plaintiff’s counsel—plaintiff asks to print any number of pages of confidential source code, limited

  only by the subjective term “not unreasonable.” The Court should adopt HMD Global’s proposal.

           Unbounded printing of source code would frustrate the security provisions of the Protective

  Order.    The parties have carefully negotiated the capabilities of, and security mechanisms

  protecting, the source code review computer. Permitting unlimited printing would circumvent

  these provisions by allowing plaintiff to print a large amount of code for review elsewhere. This

  practice would increase the risk that code is lost, or its confidentiality compromised. As this Court

  has recognized, “[g]iven the highly sensitive nature of source code, there is good cause for some

  restrictions on printing.” Smartflash LLC v. Apple Inc., No. 13-447, 2014 WL 10986995, at *2

  (E.D. Tex. May 12, 2014) (holding that a limit of 40 contiguous pages was reasonable). See also

  E-Contact Technologies, LLC v. Apple, Inc., No. 11-426, 2012 WL 11924448, at *3 (E.D. Tex.

  June 19, 2012) (adopting Defendant’s proposal of 10 consecutive pages and 500 total pages, noting

  that “[a]lthough Defendants' proposal may make the process more time-consuming, the Court

  balances this cost against Defendants' interest in the confidentiality of their source code and

  permits reasonable accountability for the review and printing of the source code.”) Other courts

  have held imposing limits on the number of contiguous pages is both “reasonable” and

  “appropriately included” in protective orders. See, e.g., Cherdak v. Koko Fitclub, LLC, No. 14-

  10371, 2015 WL 1895992, at *3 (D. Mass. Apr. 27, 2015).



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          HMD Global’s proposal already permits between approximately three and five times the

  amount of source code printouts permitted by other protective orders to which CCE and plaintiff’s

  counsel have previously agreed. For example, in Cellular Commc'ns Equip. LLC v. HTC Corp. et

  al., Case No. 13-507, Docket No. 310 at 30-31 (E.D. Tex. Dec. 10, 2014), Section 7.2.9 of the

  Court’s protective order imposed a requirement that CCE will need to meet and confer with the

  producing party if it wishes to print over 200 pages. See also Cellular Commc'ns Equip. LLC v.

  Samsung Elecs. Co., Ltd., Case No. 14-759, Docket No. 74 at 30-31 (E.D. Tex. June 22, 2015);

  Cellular Commc'ns Equip. LLC v. HTC Corp. et al., Case No. 16-363, Docket No. 11 at 34-35

  (E.D. Tex. Apr. 25, 2016); Cellular Commc'ns Equip. LLC v. LG Elecs., Inc. et al., Case No. 16-

  365, Docket No. 6 at 30-31 (E.D. Tex. Apr. 25, 2016) (each containing an identical provision). By

  contrast, HMD Global has suggested a limit of 1000 pages here.

          Plaintiff has provided no justification for rejecting HMD Global’s limit of 1000 pages of

  source code. While plaintiff points out that it has accused numerous products, that is often if not

  always true; in any event, the protective order provides that the parties may separately reach

  agreement for additional pages of prints, see Section 10(h), and that any party may move to amend

  it for good cause. See Fed. Rule Civ. P. 26(b)(2)(B). If there is good cause for more than 1,000

  pages of source-code printouts, either the parties will later agree or the Court will order it; there is

  no reason to assume now that this will be true, and there is nothing in the record at this point

  justifying the unlimited number of prints Plaintiff now requests. The Court should adopt HMD

  Global’s proposal to Section 10(h).




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III.      DISPUTE NO. 2: ¶ 11 - Scope of Prosecution Bar

                      Plaintiff’s Proposal                                 Defendant’s Proposal
        “prosecution” as used in this paragraph does          “prosecution” as used in this paragraph does
        not include representing a party in a                 not include representing a party in a
        proceeding that challenges a patent before a          proceeding that challenges a patent before a
        domestic or foreign agency (including, but not        domestic or foreign agency (including, but not
        limited to, a reissue protest, ex parte               limited to, a reissue protest, ex parte
        reexamination, inter partes reexamination,            reexamination without any claim
        post grant review, covered business method            amendment, inter partes reexamination, post
        patent review, or inter partes review)                grant review, covered business method patent
                                                              review, or inter partes review without any
                                                              claim amendment)


              A. Plaintiff’s Arguments
              Plaintiff opposes Defendant’s proposal that the prosecution bar applies to claim

       amendments in post-grant proceedings. Defendant bears the burden to show good cause for its

       proposal. See FED. R. CIV. P. 26(c); In re Deutsche Bank Trust Co. Ams., 605 F.3d 1373, 1378

       (Fed. Cir. 2010) (placing the burden of showing good cause on the party “seeking to include in a

       protective order a provision effecting a patent prosecution bar”). Defendants have not met their

       burden.

              No post-grant proceedings are pending at the time of this submission. And this Court and

    other courts in this District routinely find that a risk of inadvertent disclosure in hypothetical post-

    grant proceedings is not substantial. See Intellectual Ventures II LLC v. FedEx Corp., et al., Case

    No. 2:16-cv-980-JRG, at 3-4 (E.D. Tex. April 5, 2017) (collecting cases). As such, courts do not

    extend a prosecution bar to cover post-grant proceedings absent agreement because “involvement

    in post-grant proceedings does not raise the same risk of competitive misuse as does involvement

    in prosecution because in post-grant proceedings the PTO is assessing existing claims that may

       only be narrowed such that there is little risk that confidential information learned in litigation will

       be competitively used to draft claims that read on defendant’s products.” Id. at 3 (internal quotes


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  and cites omitted). Indeed, “defendant's concern that plaintiff's attorneys would have the

  opportunity to re-write patent claims that they were actively litigating ignored applicable patent

  law precluding amendment of claims beyond that which were disclosed in the original patent

  application.” Document Generation, 2009 WL 1766096, at *3 (internal quotes and cites omitted).

  Moreover, “it is unlikely that plaintiff[] would narrow claims to capture a single defendant's

  products and risk losing protection against other possible infringers.” Smartflash LLC v. Apple

  Inc., No. 6:13CV447, 2014 WL 10986995, at *2 (E.D. Tex. May 12, 2014).

         By contrast, the burden imposed on Plaintiff by Defendant’s proposal is substantial. To

  exercise its right to amend claims in a post-grant proceeding, Plaintiff would be required to retain

  separate outside counsel. As such, two separate sets of outside counsel would require time to

  familiarize themselves with the same facts, imposing unnecessary costs for Plaintiff.

         Further, the Parties agree to safeguards to prevent the use of DESIGNATED MATERIAL

  in any post grant proceeding. For example, the parties agree that “DESIGNATED MATERIAL[]

  shall be used by the Parties only in the litigation of this Action and shall not be used for any other

  purpose.” Ex. A, ¶ 7. As such, the Parties agree that they cannot use DESIGNATED MATERIAL

  in post-grant proceedings.

         B. Defendant’s Arguments
         Plaintiff seeks to permit its counsel to participate in inter partes review and ex parte

  reexamination proceedings, including those that alter the scope of the claims through amendment.

  Plaintiff’s proposal would permit its counsel to, after viewing highly confidential documentation

  showing the operation of the accused products, amend the scope of plaintiff’s claims to target the

  accused products and functionality. This is improper. “The purpose of the prosecution bar is to

  prevent outside counsel from using, even inadvertently, confidential information obtained in the

  lawsuit for purposes outside the lawsuit (e.g. drafting claims during patent prosecution). This is

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  true even if the result of the reexamination is narrower claim language.” Visto Corp. v. Seven

  Networks, Inc., No. 03-333, 2006 WL 3741891, at *7 (E.D. Tex. Dec. 19, 2006). For this reason,

  this Court has recognized that, even absent participation in amending the claims, plaintiff’s

  counsel’s “assistance with IPR strategy while armed with confidential information could

  significantly prejudice” defendants. Found. Med., Inc. v. Guardant Health, Inc., 2:16-cv-523, Dkt.

  No. 98, at 1 (E.D. Tex. June 5, 2017).

         Plaintiff’s proposed provisions are contrary to other protective orders this Court has entered

  in litigation in which CCE—represented by the same counsel here—is the patent plaintiff. These

  orders specifically bar plaintiff’s counsel from participating in I.P.R. or reexamination altogether.

  See, e.g., Cellular Commc'ns Equip. LLC v. HTC Corp. et al., Case No. 16-363, Docket No. 11 at

  14 (E.D. Tex. Apr. 25, 2016) (“any individual . . .           who receives access to ‘HIGHLY

  CONFIDENTIAL — ATTORNEYS’ EYES ONLY,’ or HIGHLY CONFIDENTIAL —

  ATTORNEYS’ EYES ONLY COMPUTER SOURCE CODE’ information shall not be involved

  in the prosecution of patents . . . ‘Prosecution’ as used in this paragraph includes proceedings

  before a domestic or foreign agency or court in connection with a reissue protest, ex parte

  reexamination, or inter partes review.”)

         Notably, HMD Global has not sought to preclude plaintiff’s counsel in this action from

  participating altogether in inter partes review or ex parte reexamination proceedings, as defendants

  often do. Under HMD Global’s language, plaintiff’s counsel can view confidential information in

  this action and assist in inter partes review or ex parte reexamination proceedings that don’t

  involve modification of claims, or can assist in inter partes review or ex parte reexamination

  proceedings that do involve modification of claims—but cannot do both. Courts frequently choose

  this middle ground because “the act of drafting and amending claims presents the greatest risk of



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  misuse of the litigation opponent's confidential information, while the burden on the patentee of

  that less restrictive bar is significantly reduced, as compared to a wholesale bar against

  participation in the post-review grant proceedings in any way.” British Telecommunications PLC

  v. IAC/InterActiveCorp, 330 F.R.D. 387, 397 (D. Del. 2019) (collecting cases).

         The Court should adopt HMD Global’s proposal to Section 11.




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   Dated: August 10, 2020                           Respectfully submitted,

   /s/ Jerry D. Tice II                             /s/ Deron R. Dacus (with permission)
   Jonathan H. Rastegar (lead attorney)             Deron R. Dacus
   Texas Bar No. 24064043                           State Bar No. 00790553
   T. William Kennedy Jr.                           The Dacus Firm, P.C.
   Texas Bar No. 24055771                           821 ESE Loop 323, Suite 430
   Jerry D. Tice II                                 Tyler, Texas, 75701
   Texas Bar No. 24093263                           +1 (903) 705-1117
                                                    +1 (903) 581-2543 facsimile
   BRAGALONE CONROY PC                              ddacus@dacusfirm.com
   2200 Ross Avenue
   Suite 4500W                                      Matthew S. Warren (California Bar No.
   Dallas, TX 75201                                 230565)
   Tel: (214) 785-6670                              Jen Kash (California Bar No. 203679)
   Fax: (214) 785-6680                              Erika Warren (California Bar No. 295570)
   jrastegar@bcpc-law.com                           Warren Lex LLP
   bkennedy@bcpc-law.com                            2261 Market Street, No. 606
   jtice@bcpc-law.com                               San Francisco, California, 94114
                                                    +1 (415) 895-2940
   Attorneys for Plaintiff                          +1 (415) 895-2964 facsimile
   TACTUS TECHNOLOGIES, LLC                         20-78@cases.warrenlex.com

                                                    Attorneys for HMD Global Oy




                                  CERTIFICATE OF SERVICE

         The undersigned certifies that on August 10, 2020, the foregoing document was

  electronically filed in compliance with Local Rule CV-5(a) and was served on all counsel of record

  who have consented to electronic service, per Local Rule CV-5(a)(3).

                                                              /s/ Jerry D. Tice II
                                                              Jerry D. Tice II




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